
15 N.Y.2d 497 (1964)
In the Matter of the Claim of John Rafti, Respondent,
v.
Merrill Lynch, Pierce, Fenner &amp; Smith, Inc., et al., Appellants. Workmen's Compensation Board, Respondent.
Court of Appeals of the State of New York.
Argued October 8, 1964.
Decided October 15, 1964.
John F. McDonough for appellants.
Louis J. Lefkowitz, Attorney-General (Julius Fell, Paxton Blair and Daniel Polansky of counsel), for Workmen's Compensation Board, respondent.
No appearance for claimant-respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD and BURKE. Judges VAN VOORHIS and SCILEPPI dissent and vote to reverse and to dismiss the claim upon the dissenting opinion at the Appellate Division. Taking no part: Judge BERGAN.
Order affirmed, with costs; no opinion.
